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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

                                     )
FREDERICK BANKS,                     )
                                     )
          Plaintiff,                 )
                                     )        CIVIL ACTION NO.
          v.                         )          17-11906-WGY
                                     )
PARIS ACCID ATTACK, et al.           )
                                     )
          Defendants.                )
                                     )

                                 ORDER

YOUNG, D.J.                                              March 21, 2018

     On October 2, 2017, Frederick Banks, who is a federal

pretrial detainee currently detained in Youngstown, Ohio, filed

a motion under 50 U.S.C. § 1806(f) for the disclosure of

electronic surveillance material concerning the “Paris Acid

Attack” that occurred in Marseille, France.       He alleges that

“the attack carries with it the footprints of the Central

Intelligence Agency’s ‘Telepathic Behavior Modification’ program

and CIA ‘Telepathy research’” and that “[d]isclosure under FISA

[Foreign Intelligence Surveillance Act] is an issue of public

concern and is necessary to determine the legality of the

surveillance.”   Mot. ¶¶ 2, 3.

     The motion is DENIED.    Banks is not an “aggrieved person”

within the meaning of FISA.    See 50 U.S.C. § 1801(k)

(“‘Aggrieved person’ means a person who is the target of an
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electronic surveillance or any other person whose communications

or activities were subject to electronic surveillance.”).

     The Clerk shall enter an order closing this action.

     SO ORDERED.

                                       /s/ William G. Young
                                       WILLIAM G. YOUNG
                                       UNITED STATES DISTRICT JUDGE




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